Case 2:21-cr-00067-JAW Document 32 Filed 07/20/21 Page 1 of 3                PageID #: 94




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

  UNITED STATES OF AMERICA                   )
                                             )
         v.                                  )      Case No. 2:21-cr-00067-JAW
                                             )
  ANDREW HAZELTON                            )
                                             )

                              PROSECUTION VERSION

         If this case were to proceed to trial, the government would prove that on about

  April 29, 2021, in the District of Maine, the Defendant, Andrew Hazelton, knowingly

  possessed a Samsung cellular telephone that contained images of child pornography

  involving prepubescent minors. The government would prove the following facts

  through witness testimony, physical evidence, electronic evidence, and documentary

  evidence.

         On April 29, 2021, investigators with the FBI executed search warrants for

  Hazelton’s residence in Portland and for his person. Investigators encountered

  Hazelton just outside the residence and informed him of the warrants. He had a

  Samsung Galaxy S21 5G smartphone in his pants pocket that he provided to

  investigators. He later placed one of his thumbs on the phone and unlocked it.

         An analysis of the phone revealed a folder named “1488” in the Gallery

  application of the phone. The 1488 folder contained many video files. Among the

  files were dozens that depicted minors, some of them prepubescent, engaging in

  sexually explicit conduct. One such video had the file name 2020-08-05

  20.36.19.mp4. The video, which was 14 seconds long, depicted a young girl,

  approximately six or seven years old, holding an adult male penis in her right hand.
Case 2:21-cr-00067-JAW Document 32 Filed 07/20/21 Page 2 of 3                  PageID #: 95




  The girl then performed oral sex on the male while the male patted her head. The

  same girl was depicted in at least two other videos that were in the same folder. Other

  videos depicted minor females performing oral sex, masturbating or lasciviously

  displaying their genitals.

         The file path for the video described above, as revealed by looking at the

  “Details” entry for the file, was /internal storage/MEGA/MEGA Downloads/1488.

  Mega is a cloud storage and file-hosting service offered by Mega Limited, a company

  based in New Zealand. Users can access the service both from their computers and

  their mobile devices. Hazelton’s phone contained the MEGA mobile application, but

  it was password-protected.

         The video files Hazelton possessed on his Samsung smartphone had been

  transported using the internet prior to him possessing them in Maine.

                                                     Respectfully submitted,



                                                      /s/ Craig M. Wolff
                                                     Craig M. Wolff
                                                     Assistant United States Attorney
  Dated: July 20, 2021




                                             2
Case 2:21-cr-00067-JAW Document 32 Filed 07/20/21 Page 3 of 3                  PageID #: 96




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


                             CERTIFICATE OF SERVICE

         I hereby certify that on July 20, 2021, I electronically filed this Prosecution

  Version with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to the following:

                                     David Beneman
                                    Federal Defender
                                 david_beneman@fd.org



                                                     DONALD E. CLARK
                                                     ACTING UNITED STATES ATTORNEY


                                                       /s/ Craig M. Wolff
                                                     Assistant United States Attorney
                                                     U.S. Attorney’s Office
                                                     100 Middle Street Plaza, East
                                                     Tower
                                                     Portland, ME 04101
                                                     (207) 780-3257
                                                     craig.wolff@usdoj.gov




                                              3
